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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 19-CIV-60752-RAR

  BRENDA BELL,
  individually and on behalf of
  all others similarly situated,

          Plaintiffs,
  v.

  ROYAL SEAS CRUISES, INC.,

        Defendant.
  ____________________________/

           ORDER SETTING TRIAL AND PRE-TRIAL SCHEDULE, REQUIRING
       MEDIATION, AND REFERRING CERTAIN MATTERS TO MAGISTRATE JUDGE

          THIS CASE is set for trial during the Court’s two-week trial calendar beginning on March

  16, 2020. Counsel for all parties shall also appear at a calendar call at 11:00 a.m. March 10,

  2020. 1 Unless instructed otherwise by subsequent order, the trial and all other proceedings in this

  case shall be conducted in Courtroom 205C at the U.S. Courthouse, 299 E. Broward Boulevard,

  Fort Lauderdale, Florida. The parties shall adhere to the following schedule:

          July 15, 2019. The parties shall select a mediator in accordance with Local Rule 16.2;
          schedule a time, date, and place for mediation; and jointly file a proposed order
          scheduling mediation in the form specified on the Court’s website,
          http://www.flsd.uscourts.gov. In accordance with the procedures outlined in the CM/ECF
          Administrative Procedures, the proposed order must be emailed to ruiz@flsd.uscourts.gov
          in Word format. If the parties cannot agree on a mediator, they shall notify the Clerk in
          writing as soon as the impasse becomes clear, and the Clerk shall designate a certified
          mediator on a blind rotation basis. Counsel for all parties shall familiarize themselves with,
          and adhere to, all provisions of Local Rule 16.2. 2 Within seven (7) days of the mediation,


  1
     Pursuant to Local Rule 16.1(c), the Court does not conduct pretrial conferences unless otherwise
  requested by the parties.
  2
    Pursuant to Local Rule 16.2(e), the appearance of counsel and each party (or the representatives of each
  party with full authority to enter into a full and complete compromise and settlement) is mandatory. The
  Court may impose sanctions against parties and/or counsel who do not comply with these attendance or
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         the parties shall file a joint mediation report with the Court. The report shall indicate
         whether the case settled (in full or in part), whether it was adjourned, or whether the
         mediator declared an impasse. If mediation is not conducted, the case may be stricken
         from the trial calendar, and other sanctions may be imposed.

         August 5, 2019. All motions to amend pleadings or join parties are filed.

         October 7, 2019. Motion for conditional certification of Plaintiffs’ putative class is filed.

         October 21, 2019. Parties exchange expert witness summaries or reports.

         November 4, 2019. Parties exchange rebuttal expert witness summaries or reports.

         November 18, 2019. All discovery, including expert discovery, is completed.

         November 25, 2019. Parties must have completed mediation and filed a mediation report.

         December 3, 2019. The parties shall file all pre-trial motions, including motions for
         summary judgment, and Daubert motions. Each party is limited to filing one Daubert
         motion. If a party cannot address all evidentiary issues in a 20-page memorandum, it must
         petition the Court for leave to include additional pages. The parties are reminded that
         Daubert motions must contain the Local Rule 7.1(a)(3) certification.

         January 5, 2020. The parties shall submit a joint pre-trial stipulation, proposed jury
         instructions and verdict form, or proposed findings of fact and conclusions of law, as
         applicable, and shall file any motions in limine (other than Daubert motions). Each party
         is limited to filing one motion in limine, which may not, without leave of Court, exceed the
         page limits allowed by the Rules. The parties are reminded that motions in limine must
         contain the Local Rule 7.1(a)(3) certification.

         Jury Instructions and Verdict Form. Although they need not agree on each proposed

  instruction, the parties shall submit their proposed jury instructions and verdict form jointly.

  Where the parties do not agree on a proposed instruction, that instruction shall be set forth in bold

  type. Instructions proposed only by a plaintiff shall be underlined. Instructions proposed only by

  a defendant shall be italicized. Every instruction must be supported by citation to authority. The

  parties shall use as a guide the Eleventh Circuit Pattern Jury Instructions for Civil Cases, including

  the directions to counsel contained therein. The parties shall submit, in Word format via e-mail to


  settlement authority requirements. The mediator shall report non-attendance to the Court and may
  recommend the imposition of sanctions for non-attendance.
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  ruiz@flsd.uscourts.gov, proposed jury instructions and verdict form, including substantive charges

  and defenses, prior to the Calendar Call. For instructions on filing proposed documents, please

  see http://www.flsd.uscourts.gov.

         Referral to Magistrate Judge. Pursuant to 28 U.S.C. § 636 and this District’s Magistrate

  Judge Rules, all discovery matters are hereby referred to United States Magistrate Judge Barry S.

  Seltzer. Furthermore, in accordance with 28 U.S.C. § 636(c)(1), the parties may consent to trial

  and final disposition by the Magistrate Judge. The deadline for submitting a consent is

  December 3, 2019.

         Good Faith Conferral. For the purposes of compliance with the good faith conferral

  requirement of Local Rule 7.1(a)(3), the parties are instructed that a single e-mail exchange with

  opposing counsel shall not constitute a good faith effort under the Local Rules. The parties are

  instructed to confer either telephonically or in person.

         Discovery. The parties may stipulate to extend the time to answer interrogatories, produce

  documents, and answer requests for admissions. The parties shall not file with the Court notices

  or motions memorializing any such stipulation unless the stipulation interferes with the deadlines

  set forth above. Stipulations that would so interfere may be entered into only with the Court’s

  approval. See FED. R. CIV. P. 29. In addition to the documents enumerated in Local Rule 26.1(b),

  the parties shall not file notices of deposition with the Court. Strict compliance with the Local

  Rules is expected, particularly with respect to motions practice. See S.D. FLA. L.R. 7.1.

         Discovery Disputes. The parties shall not file any written discovery motions, including

  motions to compel, for protective order, or for sanctions, without the consent of Magistrate

  Judge Seltzer. Counsel must actually confer and engage in reasonable compromise in a genuine

  effort to resolve their discovery disputes before seeking the Court’s intervention. The Court may



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  impose sanctions, monetary or otherwise, if it determines that a party has improperly sought or

  withheld discoverable material in bad faith. If, after conferring, the parties are unable to resolve

  their discovery dispute without Court intervention, they shall not file written motions. Rather,

  the parties shall follow Judge Seltzer’s Discovery Procedure Order to schedule the matter for a

  hearing.

          Trial Exhibits. All trial exhibits must be pre-marked. The Plaintiff’s exhibits must be

  marked numerically with the letter “P” as a prefix; the Defendant’s exhibits must be marked

  numerically with the letter “D” as a prefix. The parties must submit a list setting out all exhibits

  by the date of the Calendar Call. This list must indicate the pre-marked identification label (e.g.,

  P-1 or D-1) and include a brief description of the exhibit. The exhibit list shall refer to specific

  items and shall not include blanket statements such as all exhibits produced during depositions or

  Plaintiff reserves the use of any other relevant evidence. Exhibits omitted from the list will not be

  allowed at trial.

          Voir Dire Questions. The Court will require each prospective juror to complete a brief

  written questionnaire prior to the commencement of questioning in the courtroom. Any party may

  submit up to five proposed, case-specific questions to be included in the questionnaire. The

  proposed questions must be filed with the Court on or before Calendar Call and must also be

  submitted to the Court, in Word format, via e-mail to ruiz@flsd.uscourts.gov. The Court will

  begin voir dire by questioning the venire individually and as a whole and will permit limited

  attorney-directed voir dire thereafter. The Court will not permit the backstriking of jurors.

          Settlement Conference Before Magistrate Judge. The parties may, at any time, file a

  motion requesting a settlement conference before Judge Seltzer. The Court encourages the parties




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  to consider a confidential settlement conference with Judge Seltzer, especially if the parties believe

  there is a meaningful chance of reaching an early, amicable resolution of their dispute.

         Settlement Notification. If this matter is settled, counsel shall inform the Court promptly

  via telephone (954-769-5560) and/or e-mail (ruiz@flsd.uscourts.gov). In addition, counsel must

  promptly file a stipulation of settlement.

         DONE AND ORDERED in Fort Lauderdale, Florida, this 25th day of June, 2019.




                                                             _________________________________
                                                             RODOLFO RUIZ
                                                             UNITED STATES DISTRICT JUDGE

  cc:    counsel of record




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